     Case 3:17-cr-01080-WQH Document 12 Filed 04/27/17 PageID.15 Page 1 of 1




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                                                                          CLIRK, U.S. DISTRICT COURT
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 7                                UNITED STATES DISTRICT COURT

 8                               SOUTHERN DISTRICT OF CALIFORNIA

 9    UNITED STATES OF AMERICA,                             Case No.:       '17 CR1080WQH
10                                Plaintiff,                I N F 0 R MA T I 0 N

11          v.                                              Title 21, U.S.C., Secs. 952
                                                            and 960 - Importation of
12    PHYLLIS MARLENA SCHAFFTER,                            Methamphetamine (Felony)

13                                Defendant.

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16   The Acting United States Attorney charges:

17         On    or   about   April    1,       2017,   within   the   Southern               District      of

18   California,      defendant     PHYLLIS       MARLENA    SCHAFFTER,     did        knowingly           and

19   intentionally import a mixture and substance containing a detectable

20   amount of Methamphetamine,             a    Schedule II Controlled Substance,                    into

21   the United States from a place outside thereof; in violation of Title

22   21, United States Code, Sections 952 and 960.

23         DATED:      4t27'17
24                                                      ALANA W. ROBINSON
                                                        Acting United States Attorney
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                                                        BENJAMIN BIS
27                                                      Assistan   . .          torney

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     BAB:sn:4/19/2017
